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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
                                                                   :
    In re:                                                         :   Chapter 11
                                                                   :
    ORION HEALTHCORP, INC.,1                                       :   Case No. 18-71748 (AST)
                                                                   :
                                             Debtors.              :   (Jointly Administered)
                                                                   :
                                                                   :
    HOWARD M. EHRENBERG IN HIS CAPACITY                            :   Adv. Pro. No. 20-08049 (AST)
    AS LIQUIDATING TRUSTEE OF ORION                                :
    HEALTHCORP, INC., ET AL.,                                      :   [Filed Concurrently with Objection
                                                                   :   And Request To Strike the Affidavit
                                             Plaintiff,            :   of Arvind Walia]
                                                                   :
    v.                                                             :
                                                                   :
                                                                   :
ARVIND WALIA; NIKNIM MANAGEMENT, INC.,                             :
                                                                   :
                                             Defendants.           :
                                                                   :
                                                                   :


                     REPLY BRIEF IN SUPPORT OF PLAINTIFF’S
                   MOTION FOR SUMMARY JUDGMENT, OR IN THE
                ALTERNATIVE, SUMMARY ADJUDICATION AS AGAINST
             DEFENDANTS ARVIND WALIA AND NIKNIM MANAGEMENT, INC.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.
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           COMES NOW, Plaintiff, Howard M. Ehrenberg in his capacity as Liquidating Trustee of

Orion Healthcorp, Inc., et al. (the “Plaintiff” or the “Liquidating Trustee”), for the estates of the

above-captioned debtors to the Opposition of Defendants (the “Opposition”) filed by Defendants

Arvind Walia And Niknim Management, Inc. (the “Defendants”) and submits his Reply Brief in

support of Plaintiff’s Motion For Summary Judgment Or In The Alternative, Summary

Adjudication [Dkt. No. 53]2

                                                           I.

                                SUMMARY OF ARGUMENT ON REPLY

          1.        The Opposition gets it wrong. Once the Trustee carried his initial burden through

the submission of 97 uncontroverted facts evidencing that the Debtors’ funds were diverted out

of the estate to an officer of the Debtors for no consideration, the burden shifted to Defendant to

come forward with admissible evidence of “fair consideration.” Instead, the Opposition comes

forward with two documents, Exhibits C & D, and a 17 page affidavit from Defendant supported

only by legal arguments and conclusions. The 17 page affidavit (the “Walia Affidavit”) is

classic hearsay, complete with self-serving arguments and lacking foundation. The Walia

Affidavit is not signed under penalty of perjury and the two exhibits, which appear to be

summaries, are submitted without foundation or authentication. The law in the Second Circuit is

clear. As the gatekeeper, the Court properly excludes inadmissible evidence in violation of the

Federal Rules of Evidence as it is deemed “unreliable”. Defendant offers no admissible evidence

for a jury to make a finding of value, let alone “reasonably equivalent”, given to the Debtors.

          2.        Where a transferee participated or acquiesced in the fraudulent design of a

transfer, either knowingly or recklessly, “actual fraudulent intent" is satisfied under N.Y. Cred.

& Debt Law (“NYDCL”) §278(2). Here it is not disputed that 2.5MM was transferred to

Defendant (the “First Transfer”) based on a single email dated April 15, 2016. On the same day,

2.5MM was wired out of the estate for the stated reason, “I am willing to give you 3.5MM in


2
    Defined terms are given the same meaning as utilized in the Motion (Dk No. 53 (hereinafter “Dkt. No. _”)).


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return for you to allow me to structure it properly internally…” The Opposition responds that

the Portack Asset Purchase Agreement (“APA”) created a debt and the First Transfer was in

satisfaction of a legitimate “antecedent debt” resolving escrowed funds and indemnity claims.

Yet, the Opposition submits no admissible evidence for the finding of an establishment of an

escrow, deposit of monies into escrow, indemnity claims, or reconciliation of indemnity rights.

The only evidence which Defendant references is the stated purchase price of the APA which

Defendant admits was intentionally misstated.3 Similarly, it is an undisputed fact that all sums

owed to Defendant were paid at closing. (Joint of Statement of Uncontroverted Facts (“JSOF”)

46) and no antecedent debt for 2.5MM was recorded, or satisfied, on the Debtor’s books and

records. The claim of an “antecedent debt” is entirely unsupported by admissible evidence.

However, the argument fails for an even more fundamental reason. Even assuming for a

moment the APA memorialized a legitimate “antecedent debt”, it would indisputably be paid to

an Officer of the Debtors rather than existing judgment creditors. Pursuant to NYDCL §272 and

273-a, transfers to Officers in satisfaction of an antecedent debt are constructively fraudulent as a

matter of law as they are not made in “good faith”.

       3.        The argument in the Opposition to justify payment of 1.52MM (the “Second

Transfer”) is even more dependent on unsubstantiated speculation and conjecture. The

undisputed facts evidence a non-debtor third-party, PHNMS, received “membership

interests” in, Objecttech Holdings LLC, a company with no stated revenue. The operative
document reflecting the acquisition, the Membership Purchase Agreement (“MIPA”), included

no statement of assets and no reference to software. (JSOF 68) In response, the Opposition

concedes Objecttech had no revenue, was a merely a shell, and the Debtor was not a party to the

MIPA. However, as the story goes, Objecttech owned AllRad, AllRad owned software, the

software was conveyed to the Debtor, and such software was “reasonably equivalent” to what the

Debtor paid. The argument is made without the benefit of a single piece of admissible evidence.

The unsworn Walia Affidavit is not evidence. Tax returns or financial documents supporting the

3
 Defendant admits Porteck had a stated value of $1,824,000 when the Debtor paid $7,000,000, but submits no
evidence of EBITDA or any other valuation method to support his claim of an antecedent debt. (JSOF 40-45)


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operations of Objecttech, AllRad, the existence of software, its ownership or its value were

requested but not produced by Defendant during discovery. The failure to produce such records

creates an adverse inference that such documents would not support the argument in the Walia

Affidavit. The failure to rebut the undisputed statements of fact by referencing materials in the

record demonstrates Defendant has no evidence.

       4.        Lastly, the Opposition does not rebut the evidence submitted in the Motion

establishing that Defendant NIKNIM was a mere instrument, dominated by its sole officer,

director and shareholder, Defendant Walia. Defendant concedes that NIKNIM followed no

corporate formalities, was inadequately capitalized, operated out of Defendant’s house, and was

a mere instrument for Walia to pay his personal expenses. However, the Opposition is incorrect

in asserting that fraud per se is the legal test to pierce the corporate veil. Piecing the corporate

veil is invoked to prevent fraud or to achieve equity, and either test is satisfied here. NYDCL

presumes transfers without Fair Consideration or made to officers and insiders are fraudulent per

se. Defendant perpetrated a fraud on judgment creditors of the estate when, rather than paying

their legitimate debts, the Debtors improperly paid officers and insiders. To employ a legal

fiction that Defendants NIKNIM and Walia are not one and the same on these facts would

perpetrate a fraud on creditors.

       5.        The Motion pierces the pleadings to demonstrate that arguments made by

Defendant have no foundation in fact and do not justify a costly trial.

                                                  II.

         LEGAL STANDARD ON SUMMARY JUDGMENT OR ADJUDICATION

       6.        Once the moving party has met its burden, the nonmoving party "must come

forward with admissible evidence sufficient to raise a genuine issue of fact for trial in order to

avoid summary judgment." Jaramillo v. Weyerhaeuser Co., 536 F.3d 140, 145 (2d Cir. 2008)

The purpose of summary judgment is to weed out cases in which there is no genuine issue as to
any material fact. SEC v. Espuelas, 905 F. Supp. 2d 507, 520-521 (S.D.N.Y. 2012) Ultimate or



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conclusory facts and conclusions of law cannot be utilized on a summary judgment motion." Id.

citing to 10A Charles Alan Wright, Arthur R. Miller & Mary Kay Kane, Federal Practice and

Procedure §2738, at 486, 489 (1983). Such conclusory statements are insufficient to raise a

triable issue of material fact and properly disregarded. Id. Music Royalty Consulting, Inc. v.

Reservoir Media Mgmt., 598 F. Supp. 3d 158, 174 (S.D.N.Y. 2022) (only admissible

evidence need be considered by the trial court in ruling on a motion for summary judgment).

Wright v. Undercover Officer, 2018 U.S. Dist. LEXIS 143483, *9 (S.D.N.Y. 2018)

       7.        Seventy-six (76) Joint Statements of Facts (“JSOF”) and twenty-one 21

unopposed Additional Statement of Facts (“ASOF”) (See Dkt. No. 54) document over 4MM

diverted out of the estate to an officer of the Debtors while judgment creditors went unsatisfied.

        Plaintiff’s Additional Statement Of Facts In Support Of The Motion Are Deemed
        Admitted
       8.        Local Civil Rule 56.1. Statements of Material Facts on Motion for Summary

Judgment, sets forth in pertinent part:

             (c) Each numbered paragraph in the statement of material facts set forth in
                 the statement required to be served by the moving party will be deemed
                 to be admitted for purposes of the motion unless specifically controverted
                 by a correspondingly numbered paragraph in the statement required to be
                 served by the opposing party.
             (d) Each statement by the movant or opponent pursuant to Rule 56.1(a) and
                 (b), including each statement controverting any statement of material fact,
                 must be followed by citation to evidence which would be admissible, set
                 forth as required by Fed. R. Civ. P. 56(c).
[See Rule 56.1 of the Joint Rules for Civil Proceedings for the United States District Courts for

the Southern and Eastern Districts of New York].

       9.        Additional Statement of Facts 77-97 (Dkt. No. 54) were not opposed and are

properly admitted as undisputed evidence. The Opposition submitted no statement of material

facts pursuant to Local Civil Rule 56(d).




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        The Walia Affidavit and Two Exhibits Violate Numerous Federal Rules of Evidence
        Indicating its Unreliability and Exclusion from the Record
       10.       The party opposing a motion summary judgment must set forth “concrete

particulars” rather than an affiant’s self-serving belief. BellSouth Telecomms v. W.R. Grace &

Co., 77 F.3d 603, 615 (2nd Cir. 1996). It is not sufficient to merely assert a conclusion without

supporting with facts. Id. A witness offering a lay opinion must base his opinion on his own

personal knowledge, which must be established to the court and jury. "When a witness has not

identified the objective bases for his opinion, the proffered opinion obviously fails completely to

meet the requirements of Rule 701 . . . because there is no way for the court to assess whether it

is rationally based on the witness's perceptions . . . "United States v. Garcia, 291 F.3d 127, 140

(2nd Cir. 2002), citing to Rea, 958 F.2d at 1216. Similarly, the Second Circuit has made clear

that 28 U.S.C. §1746 demands that to be admissible as evidence, an affidavit must be executed

under the penalty or perjury as to the truth of the matters. Williams v. Frank Martz Coach Co.,

2014 U.S. Dist. LEXIS 66411, *11-*15 (E.D.N.Y. 2104)

       11.       The Walia Affidavit is not executed under penalty of perjury. The Affidavit

violates the most fundamental rules governing the admissibility of evidence. Rather than

submitting admissible evidence, the Walia Affidavit offers the Court unreliable hearsay, legal

conclusions, and self-serving statements not grounded on any objective identifiable fact.

Plaintiff’s Objection and Request to Strike the Affidavit of Arvind Walia, filed concurrently

herewith, addresses each inadmissible statement which the Opposition claims creates a material
issue of fact. The Opposition is submitted with no admissible evidence.

                                                 III.

   THE MOTION PRESENTED A PRIMA FACIE CASE OF INTENTIONAL FRAUD
   PURSUANT TO NYDCL §276, AS THE APA WAS PURPOSEFULLY MISSTATED
    AND NO EVIDENCE SUPPORTS A LEGITIMATE EXPLANATION FOR THE
                DIVERSION OF 2.5MM OUT OF THE ESTATE

       12.       The Motion carried its initial burden by stating material facts that confirm the

diversion of 2.5MM of the Debtor’s funds on April 15, 2016 (JSOF 6) to the CEO of Orion by
the CEO of CHT (JSOF 4) for a transaction in which no consideration was exchanged on April


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15, 2016. (ASOF 90) It is undisputed that no antecedent debt existed or was satisfied on the

books and records of the Debtor in either 2015 or 2016. (JSOF 88, 89) The Motion establishes

that Defendant sold his company (Porteck) to the Debtor in March 2015 with a stated value of

$1,824,000 (JSOF 40-45) and in exchange received 7MM. (JSOF 39) It is also not disputed that

Parmar and Defendant represented to the brokers before closing that the purchase price was

7.8MM (JSOF 30) and then one week later signed an APA with a purchase price of 12.8MM.

(JSOF 33, 35) The misstated purchase price in the APA is an undisputed fact and allowed

Parmar to divert 3MM as paid to FUH, his solely controlled company. (ASOF 85-87)

       13.       The Motion established Defendant knew of the scheme and was fine with it as

long as he got his promised payout. (JSOF 36, 37). One year later, the undisputed facts evidence

Parmar indicated he would give Defendant, the CEO of Orion, 3.5MM, in return for the

Defendant allowing his fellow executive to structure it internally as he desired. On that same

day, the Debtor wired 2.5MM to Defendant. (ASOF 90)

       14.       The Opposition makes a litany of statements to claim the First Transfer was

business as usual: there is nothing wrong with “grossing up” a purchase price to include “related

transaction fees” (Walia Aff’d., ¶63), Defendant was not complicit in Parmar’s scheme and had

no knowledge it was inappropriate (Walia Aff’d., ¶39), the purchase price of Porteck and what

was purchased is irrelevant (Walia Aff’d., ¶40), and the 2.5MM First Transfer was a legitimate

debt owed pursuant to Section 1.6(e) of the APA (Walia Aff’d., ¶40). No evidence, let alone
admissible evidence, is submitted in support of the various arguments. The explanations do not

even find support in the APA. It is an undisputed fact that no escrow was established and no

funds deposited. (JSOF 48, 49) The general reference to the APA purchase price is not credible

or probative since it was admittedly false. The badges of fraud evidence the First Transfer was

made with fraudulent intent, viz., with the purpose of placing a debtor's assets out of the reach of

creditors. See Tronox Inc. v. Kerr McGee Corp., (In re Tronox Inc.), 503 B.R. 239, 282-283

(S.D.N.Y, 2013)
        Lack of a Legitimate Explanation
       15.       Early New York decisions made clear that "[e]very sale or other transfer of goods

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made with intent to defraud creditors, though valid as between the parties to the transaction, is

utterly void as to creditors. Eberhard v. Marcu, 530 F.3d 122, 130 (2nd Cir. 2008) Where

Defendants’ fail to proffer a legitimate explanation for the conveyance, defendants' actual

fraudulent intent can readily be inferable on the facts, and the plaintiff is entitled to summary

judgment setting those conveyances aside under NYDCL §276. Machado v. A. Canterpass, LLC,

115 A.D.3d 652, 654, 981 N.Y.S.2d 758 (2d Dept. 2014). Wimbledon Fin. Master Fund v.

Wimbledon Fund, SPC, 2016 N.Y. Misc. LEXIS 4805, *16, 2017 WL 3024259 (On summary

judgment, upon "defendants' failure to proffer any legitimate explanation for the conveyances,

the defendants' actual fraudulent intent is readily inferable and the plaintiff is entitled to a

judgment setting those conveyances aside under [DCL § 276])”

       16.       In Fannie Mae v. Olympia Mortg. Corp., 792 F. Supp. 2d 645, 653-654 (Bankr.

E.D.N.Y. 2011), summary judgment was awarded on the NYDCL §276 claims where

defendant’s proffered explanation for the receiving the transfers could not be established in the

opposition. Id. at 653 (The evidence did not support defendants’ explanation the transfers were

either part of defendant’s compensation or that they were profits for his ownership interest.) Id.

(The facts established a scheme, not in the usual course of business, to pay relatives rather than

pay its creditors demonstrating multiple badges of the existence of fraud). Id. at 654 (And, if, as

the defendant argues, these transfers were part of his compensation, “the amounts of the transfers

each year would have been, but were not, included on defendant’s forms, which the debtor
prepared”.) Id.

       17.       Here, the proffered explanation for receiving the 2.5MM conveyance fails under

its own weight. First, the Opposition claims the “the purchase price of the Porteck assets is

irrelevant” (Walia Aff’d., ¶40). Next, Defendant claims he was paid 2.5MM from an escrow

established for indemnity obligations however, no escrow or monies were set aside in escrow.

(JSOF 48-49) Similarly, the Opposition comes forth with no admissible evidence of a discussion

of escrow indemnity rights or the payment of 2.5MM on account of indemnity rights. The
argument is made out of thin air. The undisputed facts confirm the 2.5MM payment was not



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made in the ordinary course of business as it was made without supporting documentation

between executives and on the same day as their email exchange. Prabir v. Bukhara Indian

Cuisine, Inc., 2018 U.S. Dist. LEXIS 94563, *9 (S.D.N.Y. 2018) (Other badges of fraud includes

whether it was a secret and hasty transfer not in the usual course of business). As stated in

Fannie Mae v. Olympia Mortg. Corp., supra, 65, if the transaction was as defendant contends, it

would have been properly documented in the Debtor’s records. Id. at 654. Here, the same holds

true. If the liability existed based on a contingent obligation owed by the Debtor as claimed by

Defendant, it would have been documented as a contingent liability. (ASOF 88, 89) Two senior

executives paying themselves millions of dollars based on an email for unrecorded transactions

is outside the ordinary course of business. Three badges of fraud; lack of legitimate explanation,

hastily performed, and outside the ordinary course of business, are satisfied.

         Defendant’s Participation In The Scheme Or Indifference To The Truth

       18.       The Motion, at ¶52 correctly cites the law that false statements, motive,

opportunity to commit fraud, or reckless indifference to the truth, support a finding of fraud.

"Actual fraudulent intent" under NYDCL §278(2) has been construed such that it is satisfied if a

"transferee participated or acquiesced in the transferor's fraudulent design." 13 Romualdo P.

Eclavea, Carmody-Wait 2d New York Practice with Forms §§85-29 & 85-30 (2002) (emphasis

added); Berlenbach v. Bischoff, 137 Misc. 719, 244 N.Y.S. 369, 371 (N.Y.Sup.Ct. Spec. Term

1930).
       19.       Defendant contends that he did not participate or was not complicit in Parmar’s

scheme to defraud. (Walia Aff’d., ¶39) According to Defendant, Parmar “grossing up a

purchase price” to include “related transaction fees” to benefit FUH was not false or a

misrepresentation. (Walia Aff’d., ¶63) However, the Opposition cites to no document or

evidence to support a legitimate role of FUH in the transaction. None of the documents before

the Court evidence a role played by FUH. The assertion is merely argument. See Salim v. VW

Credit, Inc., 577 B.R. 615, 621 (E.D.N.Y. 2017) (The nonmoving party cannot avoid summary
judgment by "rely[ing] on conclusory allegations or unsubstantiated speculation," but must offer



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"hard evidence showing that its version of the events is not wholly fanciful.”) The admissible

evidence before the Court indicates that the broker, Abstract Business Advisors, was paid

$192,500, for its involvement in the Porteck transaction. Yet, 2MM or 3MM for transaction fees

is appropriate? (See Aff’d. of E. Wong, Dkt. No. 56-5, Letter dated 2/20/15, Ex. E) Contrary to

the position now claimed by the Walia Affidavit as to the “reasonableness “of the payment to

FUH, Walia testified in his deposition that he paid no attention to what Parmar was doing. (JSOF

37)
                      “Q. So when you were negotiating with Mr. Parmar or Orion, was the
                         purchase price supposed to be 10.8 million?

                           A. Correct.
                       Q. and when did it change to 12.8 million?

                           A. At some point Mr. Parmar stated that there are fees to close this
                           deal that have to be included in the purchase price. I said as long as
                           my share of the purchase price doesn’t change, it doesn’t concern
                           me.”
(See Aff’d. of J. Nolan, Ex. 15, Deposition of Walia, p. 134, lns. 9-19)

       20.        At a minimum, the statements evidences Defendant’s reckless indifference to the

truth. See In re Kaiser, 722 F.2d 1574, 1578 (2d Cir. 1983) citing to In re Diorio, 407 F.2d 1330,

1331 (2d Cir. 1969) ("reckless indifference to the truth . . . is the equivalent of fraud"4)

Defendant did not have to go along with Parmar’s scheme.

         The Close Relationship Between The Parties To The Transaction
       21.        The badges of fraud include circumstances such as 'a close relationship between

the parties to the alleged fraudulent transaction. Wimbledon Fin. Master Fund v. Wimbledon

Fund, SPC, 2016 N.Y. Misc. LEXIS 4805, *16, 2017 WL 3024259. The Opposition does not

dispute both Parmar and Walia were senior executive officers of the Debtors at the time of the

Transfers. Parmar was the CEO of CHT. Walia was the CTO of CHT, and the CEO of the

Debtor, Orion. (JSOF 4) The two knew each other prior to 2015. (JSOF 25) In fact, Walia

confirms his close relationship with the Debtors in the Opposition with statements such as: “as

4
  Ft note 4: “Appellant's attempts to justify his misconduct by the actions of others and his own inadvertence are
unpersuasive. See In re Diorio, 407 F.2d 1330, 1331 (2d Cir. 1969) (per curiam) ("reckless indifference to the truth
. . . is the equivalent of fraud");


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an officer of Orion and CHT, I was confident” the 2.5MM payment would be made without the

necessity of establishing an escrow. (Walia Aff’d., ¶44) Walia confirms he was in the inner

circle at the Debtor.

        Control Of The Property And Personal Benefit

       22.       Walia also testified that he was aware Parmar was misstating the accuracy of the

APA “in order to get a better deal for us”, which indicates Parmar’s misrepresentations were

designed to benefit them. (JSOF 31) E-mail exchanges between Parmar and Walia in 2016, that

Parmar would pay Walia if he allowed him to structure it properly internally (ASOF 90), or in

2017 when Walia demanded the Objecttech sale be done “today”, despite Parmar not knowing

what they were buying. (See Aff’d. of E. Wong, Dkt. No. 56-10, Ex “J”, Ehren-Walia 004004)

The two executives controlled the Debtor as their fiefdom.

        Transferor’s Knowledge Of Creditor’s Claims

       23.       As set forth in the Motion, this factor also favors a finding of fraud under NYDCL

§276. Walia knew about the unsatisfied creditors of CHT and Orion in existence. A judgment

was entered in 2015 against Orion, one year before the Transfers. (JSOF 73) On March 9, 2016,

CHT was sued for 1MM in Texas. (JSOF 71) Walia was named personally as a Defendant in the

Texas lawsuit. The lawsuit resulted in a judgment against CHT. (See Req. For Jud. Notice, Dkt.

No. 58, Verified Complaint, Ex. 3) Rather than pay their debts, the Debtor transferred 2.5MM in

2016 and a further 1.52MM in June 2017 to Defendants. The judgment creditors remained
unpaid as of the filing date of the petition in bankruptcy. Plaintiff submits prima facie evidence

satisfying multiple badges of fraud. U.S. v. Spencer, 2012 U.S. Dist. LEXIS 142195, 2012 WL

4577927 at *7 (“A single [badge of fraud] may stamp the transaction as fraudulent and, when

several are found in combination, strong and clear evidence on the part of the upholder of the

transaction will be required to repel the conclusion of fraud.”) (emphasis added) Wimbledon Fin.

Master Fund v. Wimbledon Fund, SPC, 2016 N.Y. Misc. LEXIS 4805. The Opposition responds

with no admissible evidence.




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                                    IV.
  THE MOTION PRESENTED A PRIMA FACIE CASE OF INTENTIONAL FRAUD
 PURSUANT TO NYDCL §276 FOR THE DIVERSION OF THE SECOND TRANSFER
   OF $1,520,000 AS THE MIPA IS REPLETE WITH FALSE STATEMENTS IN AN
     EFFORT TO MAKE THE PURCHASE OF A SHELL COMPANY APPEAR
                                LEGITIMATE

       24.       The Motion carried its initial prima facie burden by establishing Debtor

paid 1.52MM to Defendant, NIKNIM, and in exchange received nothing of stated value. The

Debtor maintained an IOLA account at Robinson Brog where it deposited monies of the Debtors’

CHT and Orion. (JSOF 77-83) The Second Transfer was made out of the Debtors’ IOLA

account to Defendant on June 23 and 28, 2017. (JSOF 7) The Opposition claims that what was
purchased in 2017 was a legitimate company, Objecttech, as memorialized by the MIPA. (JSOF

51) Objecttech was a shell company with no stated revenue. (Walia Aff’d., ¶57). The MIPA sold

“interests” of Objecttech to a non-debtor, PHNMS. (JSOF 51, 67) This was an inside deal

between the two executives as it was never put out for competitive bid to others (JSOF 70), and

it was never approved by the Board of Orion. (JSOF 70). The two executives prepared a due

diligence report with help of Ted Brindamour who worked for Parmar’s brother-in-law, Salil

Sharma. (JSOF 53) Mr. Brindamour prepared the due diligence reports for other acquisitions by

Orion, including the admitted “sham acquisition” of MDRX. (JSOF 20, 52, 53). Brindamour

wanted Walia to insert the factual information with respect to Objecttech, AllRad, its operation

and assets. (JSOF 54) The schedules attached to the MIPA did not exist, i.e., were never

prepared and the due diligence report supporting the acquisition were never finalized. (JSOF 60-
62) No stated assets, liabilities, or working capital of Objecttech was included in the MIPA.

(JSOF 68). The Debtors’ books and records do not evidence the satisfaction of an antecedent

debt or increase in net assets through the acquisition of an asset such as Objecttech, AllRad or

PHNMS for $1,520,000. (ASOF 91, 92) Defendant Walia, the owner of Objecttech and AllRad,

(JSOF 95) failed to produce tax returns for either entity as requested during discovery. (ASOF

66, 94) These facts are not in dispute.




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       25.       In Opposition, Defendant confirms that what was purchased for 1.52MM,

Objectech, “did nothing and had no revenue” (Walia Aff’d., ¶¶57, 64). Defendant concedes its

interests were assigned to a non-debtor third party (Walia Aff’d., ¶61) But, the Opposition

contends, while Objectech had no revenue, it did own “valuable software that Objecttech

developed through substantial capital investment.” Regardless of who took title, Objecttech

assets were delivered to the Debtor Orion, since Defendant, as President presided over the

development and integration of the software. (Walia, ¶¶62, 63) All of the aforementioned

explanations are arguments unsubstantiated and asserted without any admissible evidence. On a

summary judgment motion, courts may consider "only evidence that would be admissible at

trial." Nora Bevs., Inc. v. Perrier Group of Am. Inc., 164 F.3d 736, 746 (2d Cir. 1998)

Conclusory statements of Walia, do not establish facts or that the payment was equivalent to the

1.52MM paid.

        Conclusions And Legal Opinions Are Not A Substitute For Admissible Evidence

       26.       The Walia Affidavit is replete with self-serving conclusions of law by Walia

which are properly disregarded. With respect to the 1.52MM Second Transfer, such conclusions

include: (1) Objecttech owned AllRad, (2) AllRad’s property consisted of “valuable software”,

(3) Objecttech invested “substantial capital” to develop the software, (4) the software was

“reasonably equivalent” to the amount exchanged under the Objecttech MIPA, and (5) the

Objecttech MIPA did not include false statements or misrepresentations of fact. After three
years of litigation, the attempt to substitute a self-serving Affidavit in the place of admissible

evidence demonstrates Defendant cannot carry its burden to identify and support the existence of

a material issue of fact for trial. Hollander v. American Cyanamid Co., 172 F.3d 192, 198 (2nd

Cir. 1999) (The district court was correct in holding that the affidavit flagrantly disregarded the

requirements of Rule 56(e), was riddled with inadmissible hearsay, conclusory statements and

arguments, and "more resembled an adversarial memorandum than a bona fide affidavit.) As in

Hollander, the Walia Affidavit resembles an adversarial brief rather than statements of fact.




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        Exhibits C & D Are Properly Stricken As Inadmissible Hearsay Lacking in Any
        Reliability
       27.       The proponent of the written statement, has the burden to show the applicability

of an exception or exemption to the prohibition on hearsay. See Evans v. Port Authority of N.Y.

& N.J., 192 F. Supp. 2d 247, 263, n.121 (S.D.N.Y. 2002).

       28.       The Opposition attaches two documents, Exhibits C & D, which Defendant claims

proves the existence of state of the art technology” which was “valuable”. Both documents

appear to be informational brochures. Both documents are hearsay as written statements offered

to prove the truth of the matter asserted, i.e. that software existed and it was valuable. Both

documents are subject to the Federal Rules of Evidence. (FRE 801(a); FRE 1101(b)) No

foundation is offered as to the source of the documents. The Walia Affidavit offers no foundation

for the creation, existence or accuracy of the brochures. See Reynolds v. Am. Airlines, Inc., 2017

U.S. Dist. LEXIS 198949, *4-5 (Bankr. E.D.N.Y. 2017) (Incident report properly stricken where

proponent failed to offer foundation for document offered). Similarly, the undisputed facts

corroborate the lack of trust-worthiness of documents surrounding Objecttech and summaries

viewed with skepticism. FRE 803(6)(E). Defendant concedes that documents surrounding the

1.52MM sale of the Objecttech membership interests are incomplete. (Incomplete Due Diligence

Report) (JSOF 60), MIPA agreement with multiple sections never completed (JSOF 61),

schedules that never existed (JSOF 62). Exhibits C and D are properly excluded as lacking

foundation.

        Self-Serving Affidavits That Contradict The Underlying Facts Of Prior Testimony
        Are Properly Stricken On Summary Judgment
       29.       The rule is well-settled in the Second Circuit that a party may not, in order to

defeat a summary judgment motion, create a material issue of fact by submitting an affidavit

disputing his own prior sworn testimony. Trans-Orient Marine Corp. v. Star Trading & Marine,

Inc., 925 F.2d 566, 572 (2nd Cir. 1991), citing to Mack v. United States, 814 F.2d 120, 124 (2d

Cir. 1987) (party cannot create genuine issue of material fact with affidavit contradicting prior

deposition testimony in attempt to defeat summary judgment motion). The Affidavit of Walia
claims no tax records of Objecttech and AllRad existed because Objecttech and AllRad had no


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revenue. Defendant claims the failure to produce tax records and schedules in response to

discovery requests is excused and there is no application of the Adverse Inference Rule. (Walia

Aff’d., ¶64) The explanation can be dismissed outright as it contradicts Defendant’s deposition

testimony where he stated (a) the companies did file tax returns and (b) had revenue.

                          Q. Did AllRad Direct file federal tax returns?

                              A. Yes.

                          Q. How about state tax returns?

                              A. I am not sure

(Deposition of Walia p. 37, lns. 2-7, see Ex. 13 attached to Reply Aff’d. of J. Nolan)

                          Q. Has Objecttech ever filed tax returns?

                              A. I have to check. I believe so. I do know my accountants
                              were aware of Objecttech, and I’ll have to check that.

(Deposition of Walia p. 293, lns. 17-21, see Ex.15 attached to Reply Aff’d. of J. Nolan)

       30.       Walia also testified under penalty of perjury, after the demise of AllRad Direct,

LLC, sometime in 2013, Objecttech did a licensing deal with a software company called Integra

Partners, and derived revenue. (Deposition of Walia p. 293-295, lns. 17-21, see Ex. 15, attached

to Aff’d. of J. Nolan) The adverse inference rule is triggered by the failure of a party to provide

evidence peculiarly available to that party and supports an inference that the truth in those

documents would be damaging to that party. Gonzales v. Albuquerque Tortilla Co. (In re Furrs

Supermarkets, Inc.), 2008 Bankr. LEXIS 946,*26 (Bankr. N.M. 2008), citing to Deutsche

Financial Services Corp. v. Osborne (In re Osborne), 257 B.R. 14, 19, n.7 (Bankr. C.D. Cal.

2000). If produced, financial or tax records of Objecttech or AllRad would confirm that

Objecttech or AllRad owned no software, or if it did exist, was valueless. Defendant admits he

was asked for these financial documents and did not produce them. (JSOF 66; ASOF 94, 95)

The Adverse Inference Rule is properly exercised in this instance as the records existed and were

not produced.




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       31.       Similarly, Defendant’s conclusion that a company without revenue would not file

tax returns is speculation at best lacking any foundation whatsoever. (Walia Aff’d., ¶64)5 The

IRS Code and guidelines state that all corporations, except non-profits, must file a return

regardless of revenue.

        The MIPA Was Falsely Stated In An Effort To Make An Illegitimate Transaction
        Appear Legitimate
                          Fraudulent Intent Established Under Badges of Fraud

       32.       Direct evidence of fraud such as where false statements, or misrepresentations are

made with documents is evidence of intent to defraud and an effort to make an illegitimate

transaction appear legitimate. See United States v. Maciejewski, 70 F. Supp. 2d 129, 134 (Bankr.

N.D.N.Y. 1999). With respect to the Second Transfer, the stipulated facts are that Parmar, Walia

and Brindamour prepared yet another inaccurate and patently false due diligence reports to

justify the Second Transfer. (JSOF 52, 53, 54) Walia pushed the acquisition even though

Parmar did know what the Debtor was buying. (JSOF 55-60). The various schedules to attach to

the MIPA were not completed. (JSOF 61-62). The record is replete with false statements, or

misrepresentations in an effort to make an illegitimate transaction look legitimate.

       33.       Under section §276, an intent to defraud is assumed where the conveyance is

made without consideration ". See William Iselin & Co., Inc. v. Boardwalk Regency Corp., 703

F. Supp. 1084, 1088 (S.D.N.Y. 1989) In determining value, the Court makes a two-fold inquiry:
whether the debtor received any value at all in exchange for the transfer, i.e. any realizable

commercial value as a result of the transaction, and second whether that value was in fact

reasonably equivalent. See Devon Mobile Communs. Liquidating Trust v. Adelphia Communs.

Corp. (In re Adelphia Communs. Corp.), No. 02-41729 (CGM), 2006 Bankr. LEXIS 4600, 2006

WL 687153, at *11 (Bankr. S.D.N.Y. Mar. 6, 2006); Togut v. RBC Dain Correspondent Servs.

(In re S.W. Bach & Co.), 435 B.R. 866, 876, (Bankr. S.D.N.Y. 2010) 2010 Bankr. LEXIS 2469,


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  Department of Treasury, Internal Revenue Service, Form 1120; See Request For Judicial Notice: Who Must File;
Unless exempt under section 501, all domestic corporations (including corporations in bankruptcy) must file an
income tax return whether or not they have taxable income. Domestic corporations must file Form 1120, unless they
are required, or elect to file a special return. (See Reply Aff’d. of J. Nolan, attached as “Who Must File,” Ex. 12)


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*24-25, 53 Bankr. Ct. Dec. 148. The purchase of “membership interests” in a shell company

with no stated assets as transferred to a non-debtor, PHNMS, is prima facie evidence of lack of

fair consideration. In response, the Opposition presents no tangible evidence of value.

                          Lack of a Legitimate Explanation

       34.        The documents to justify the existence of an asset, and that it had value, were

within Defendant’s control. The financial records of AllRad or Objecttech were not produced. It

is an undisputed fact that the MIPA references no assets and made no reference to AllRad.

(JSOF 62, 68) Defendant’s explanation, to blame the attorneys for not drafting an accurate

agreement, is an admission the MIPA is without value. (Walia Aff’d., ¶56) Summary judgment

is properly granted under NYDCL §276 where defendant’s proffered explanation for the

receiving the transfers could not be established in the opposition. Fannie Mae v. Olympia Mortg.

Corp., 792 F. Supp. 2d 645, 653 (Bankr. E.D.N.Y. 2011)

                          The Close Relationship Between the Parties to the Transaction

       35.       As set forth above with respect to the First Transfer, the close relationship

between Defendant, the Debtor, and Parmar existed in 2016 and 2017. A badge of fraud

includes circumstances such as 'a close relationship between the parties to the alleged fraudulent

transaction. Wimbledon Fin. Master Fund v. Wimbledon Fund, SPC, 2016 N.Y. Misc. LEXIS

4805, *16, 2017 WL 3024259.

                          Transferor’s Knowledge of Creditor’s Claims
       36.       As set forth above with respect to the First Transfer, Defendant knew lawsuits and

judgment creditors existed in February 2016 when Orion and he personally, were sued in the

Texas lawsuit. One year later in June 2017, even more lawsuits were filed. The Debtors’ CHT

and Orion filed their petition of bankruptcy in March 2018, with lawsuits and unpaid judgments

pending against it. (JSOF 72, 75-76)

       37.       The Opposition does not dispute the fact the Debtor is not a party to the MIPA,

the inaccuracies in the MIPA, the fictional schedules referenced therein or a due diligence report
ginned up by the executives with the assistance of Ted Brindamour. The Opposition submits no



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admissible evidence to repel the strong inference of fraud and complete lack of consideration

resulting in $1,520,000 diverted away from creditors.

                                               V.

        THE MOTION PRESENTED A PRIMA FACIE CASE OF CONSTRUCTIVE
         FRAUD PURSUANT TO NY DCL §273-A, AS JUDGMENT CREDITORS
          EXISTED BEFORE THE TRANSFERS AND THE TRANSFERS WERE
              MADE TO AN OFFICER AND INSIDER OF THE DEBTOR

       38.       The Opposition does not dispute the legal standard set forth in the Motion to be

applied under NYDCL §§273 and §273-a. To prevail on a claim under §273-a, a plaintiff must

establish that: (1) the conveyance was made without fair consideration; (2) at the time of
transfer, the transferor was a defendant in an action for money damages or a judgment in such

action had been docketed against him; and (3) a final judgment has been rendered against the

transferor that remains unsatisfied. Priestley v. Panmedix Inc., 18 F. Supp. 3d 486, 497

(S.D.N.Y. 2014). (Motion, Dkt. No. 53, §69-7) The Opposition concedes the Motion established

the last two elements of the test, but contends a disputed facts exists as to “Fair Consideration”.

        First Transfer:

       39.       The Opposition contends that the release of escrow monies in exchange for valid

indemnity rights, was equivalent to the 2.5MM depleted from the Debtor’s estate. (Opposition,

Dkt. No. 49) The contention fails for two reasons: (1) No admissible evidence has been

submitted to support the First Transfer was made for release of indemnity rights. In fact the
undisputed facts establish that no escrow was created or funded pursuant to Section 1.6(e).

(JSOF 48, 49) The contention is made in an unsworn affidavit and in violation of FRCP Rule

56(c)(1) which commands that a party asserting a factual is dispute must cite to particular parts

of material in the record; and (2) Even if the Court entertained an argument that the APA created

an antecedent debt owed to Defendant, NYDCL stigmatizes repayment of an antecedent debt

owed to an officer, director or major shareholder as lacking “good faith” and as a matter of law
lacking “fair consideration”. See Sharp Int'l Corp. v. State St. Bank & Trust Co., 403 F.3d 43,



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53-54 (2d Cir. 2005); Farm Stores, Inc. v. Sch. Feeding Corp., 102 A.D.2d 249, 477 N.Y.S.2d

374 (2d Dept 1984). When preferences are given to a debtor corporation's shareholders, officers,

or directors, such transfers are per se violations of the good faith requirement. Id. (citing HBE

Leasing Corp. v. Frank, 48 F.3d 623, 634 (2d Cir. 1995).

       40.       The Opposition contends that NYDCL 273-a, stigmatizes only transfers to

“insiders” not “officers, directors or major shareholders of the transferor” as lacking good faith,

and the determination of “insider” status is a question of fact not for determination on motion for

summary judgment. (Opposition, ¶52, citing to Jacobs v. D’D'Alessandro (In re Dewey &

Leboeuf LLP), 2014 Bankr. LEXIS 4051, *17). The contention is misplaced. In re Dewey &

Leboeuf LLP, supra., did not involve a claim made under NYDCL 273-a, where an officer’s

antecedent debt was given priority over antecedent debt owed to judgment creditors. As set forth

by the Second Circuit:

                “One exception has been recognized by the New York courts to the rule that the
        repayment of an antecedent debt constitutes fair consideration: where "the transferee is an
        officer, director, or major shareholder of the transferor." Atlanta Shipping, 818 F.2d at
        249; see also HBE Leasing I, 48 F.3d at 634 HN21 ("New York courts have carved out
        one exception to the rule that preferential payments of pre-existing obligations are not
        fraudulent conveyances: preferences to a debtor corporation's shareholders, officers, or
        directors are deemed not to be transfers for fair consideration."). See Sharp Int'l Corp. v.
        State St. Bank & Trust Co., 403 F.3d 43, 54(2d Cir. 2005)

       41.       Defendant was both an officer of CHT and Orion and the attempt to pay his

claimed antecedent debt over the debt of judgment creditors is not “fair consideration” under

NYDCL §273-a. The First Transfer fails as a matter of law. The undisputed facts and Walia’s

own statements evidence Defendant Walia exercised sufficient authority over the Debtor,

managed its affairs, and/or controlled the disposition of assets such that the record establishes

Defendant was an “insider”. As set forth in the Walia Affidavit: “I, as the President and Chief

Executive Officer of the [sic] Orion, presided over the development and integration of the

software for the exclusive benefit of the Debtors.” (Walia Aff’d., ¶62). According to the

witness, he managed, oversaw and controlled the disposition of a major asset. As set forth in the
Motion at page 30, the term insider includes “a person in control of the debtor” or an “officer of


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the debtor”. 11 U.S.C. §101(31)(B) (ii) and (iii). An “insider” is one who has a sufficiently

close relationship with the debtor that his conduct is made subject to closer scrutiny than those

dealing at [arm’s] length with the debtor.” Anstine v. Carl Zeiss Meditec AG (In re U.S. Medical,

Inc.), 531 F.3d 1272, 1277 (10th Cir. 2008) Defendant further claims, “As an Officer of Orion

and CHT, I was confident the deferred payment would be made” such that he did not need an

escrow. (Walia Aff’d., ¶44). Here the witness claims as the CEO, he had a “sufficiently close

relationship with the Debtor” that he did not have to worry about formalities for getting paid.

Lastly, Walia controlled corporate policy at some level at it is an undisputed fact that Parmar,

CEO of CHT, sought Defendant’s consent as CEO of Orion, the operating entity, to allow him to

characterize million dollar transactions (“I am willing to give you 3.5MM in return for you to

allow me to structure it properly internally..”) (ASOF 90) Walia controlled corporate strategy

for the Debtor;

                        Q. what were your day to day responsibilities at Orion?

                              A. “… I had all—I was responsible as the CEO of the strategy,
                              revenue, you know, client satisfaction, pretty much what a CEO
                              responsibilities are.”

(Deposition of Walia, p. 140-141, lns. 19-8, see Ex. 13, attached to Reply Aff’d. of J. Nolan)

       42.        The undisputed facts establish Defendant was an officer of the Debtors. The facts

and the testimony of Defendant confirm his close relationship and management over the
Debtors’ affairs.

        Second Transfer:

       43.        In the fraudulent conveyance context, the basic question is - has the estate been

depleted without exchanging property of similar value to the Debtor as a result of the

Transaction to the prejudice of the Debtor’s unsecured creditors? (Mellon Bank, N.A. v. Metro

Communications, Inc., 945 F.2d 635, 644 (3rd Cir. 1991) NYDCL §273 requires that the debtor

must have "received" the value in question "in exchange" for the transfer or obligation at stake.
Jackson v. Mishkin (In re Adler, Coleman Clearing Corp.), 263 B.R. 406, 467 (S.D.N.Y, 2001)



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The requirement that the debtor must have "received" the value in question expresses a temporal

condition demanding an element of contemporaneity in the determination of whether something

close to the reasonable equivalence has been exchanged. Id. at 467. Every conveyance made

without fair consideration when the person making it is a defendant in an action for money

damages or a judgment in such an action has been docketed against him, is fraudulent as to the

plaintiff in that action without regard to the actual intent of the defendant if, after final judgment

for the plaintiff, the defendant fails to satisfy the judgment. Lyman Commerce Solutions, Inc. v.

Lung, 2015 U.S. Dist. LEXIS 51447, 17 (S.D.N.Y, 2015) citing to NYDCL § 273-a (McKinney

2002).

       44.       As elaborated in the Intentional Fraud claim, it is an undisputed fact that the

Debtor paid the Second Transfer, to purchase “membership interests” for a non-debtor in a shell

company, Objecttech, with no stated assets. (JSOF 51, 67, 68) These facts are not in dispute and

the Motion on the face of the underlying documents carries its prima facie burden evidencing the

Second Transfer made for no consideration. Transactions lacking proof of fair or adequate

consideration when creditors exist are not made in “good faith”. The fraud is committed against

existing judgment creditors who went unpaid while assets were diverted out of the estate. The

requirement of good faith is not fulfilled through preferential transfers of corporate funds to

directors, officers or shareholders of a corporation that is, or later becomes, insolvent, in

derogation of the rights of general creditors. Am. Panel Tec v Hyrise, Inc., 31 AD3d 586, 587,
819 N.Y.S.2d 768 (2d Dept 2006); P.A. Bldg. Co. v Silverman, 298 AD2d 327, 328, 750

N.Y.S.2d 13 (1st Dept 2002).

       45.       No admissible evidence supports the Debtors receiving value, let alone reasonably

equivalent value, for the $1,520.000 diverted out of the estate. The Second Transfer was not

conducted at arm’s length. (JSOF 70) Parmar did not know what the Debtor was purchasing.

(JSOF 56) Defendant was involved in preparing a “due diligence report” which contained fake or

inaccurate revenue projections, for a company, Objecttech. (JSOF 52-54) The figures could only
come from Defendant Walia. (JSOF 59) Walia inserted revenue figures for Objecttech of



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$161,000, for 2013, and $70,000 for 2014. (See Dkt. No. 56-11, Ex. K) Now, in opposition to

the Motion, Walia signs an Affidavit and claims Objecttech had no revenue. See, e.g., In re

Leneve, 341 B.R. 53 (Bankr. S.D. Fla. 2006) (essential comparison in constructive fraudulent

transfer inquiry is "what went out" with "what was received").

       46.       The Motion establishes by irrefutable evidence that $1,520,000, went out of the

estate, and no value, let alone reasonable equivalent value, was received. Both good fair and fair

consideration are lacking. Based on the undisputed facts before the Court summary judgment is

proper as the Transfers were constructively fraudulent.

                                                  VI.

             WALIA IS INDIVIDUALLY LIABLE FOR THE DEBTORS MONIES
                HE DIVERTED TO DEFENDANT NIKNIM AWAY FROM
                     LEGITIMATE CREDITORS OF THE ESTATE

       47.       The Opposition does not dispute the legal standard set forth in the Motion. Alter

ego liability exists under New York law "when a parent or owner uses the corporate form to

achieve fraud, or when the corporation has been so dominated by an individual or another

corporation . . . and its separate identity so disregarded that it primarily transacted the

dominator's business rather than its own." City of Almaty v. Ablyazov, 2019 U.S. Dist. LEXIS

55183, *14 (Bankr. S.D.N.Y. 2019); Kiobel v. Royal Dutch Petroleum, 621 F.3d 111, 195 (2d

Cir. 2010) (internal quotation marks and citation omitted). "Factors to be considered in
determining whether the owner has 'abused the privilege of doing business in the corporate form'

include whether there was a 'failure to adhere to corporate formalities, inadequate capitalization,

commingling of assets, and use of corporate funds for personal use'." East Hampton Union Free

School Dist. v Sandpebble Bldrs., Inc., 66 AD3d 122, 127, 884 NYS2d 94 (2009).

       48.       The Motion outlined eight factors and submitted admissible evidence that was not

disputed demonstrating that Defendant NIKNIM lacked a legitimate business purpose: created to

foster Walia’s private affairs, paid his personal expenses, failed to maintain corporate minutes or
records, was inadequately capitalized, operated out of Walia’s house, and received the Transfers



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solely at Walia’s direction for his personal benefit. (Motion, Dkt. No. 53, p. 32-34) Plaintiff

claims the finding of veil piercing or alter ego is a fact laden event and not well suited for

summary judgment. (Opposition, ¶54) However, once there is a showing of the absence of an

issue of fact, the party opposing summary judgment must come forth with specific evidence that

raises a genuine issue of fact. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). Neither Defendants Walia nor NIKNIM

present evidence to dispute any of the aforementioned factors. Rather, the Opposition contends

that Plaintiff must prove that NIKNIM was used by Walia to commit a fraud against the Debtor

for Walia to be held personally liable. (Opposition, ¶54) The statement is not accurate.

       49.       The federal common law doctrine of piercing the corporate veil under an alter ego

theory can best be described by the following two-part test: (i) was there such unity of interest

and lack of respect given to the separate identity of the corporation by its shareholders that the

personalities and assets of the corporation and the individual are indistinct, and (ii) would

adherence to the corporate fiction sanction a fraud, promote injustice, or lead to an evasion of

legal obligations. National Labor Relations Bd. v Greater Kan. City Roofing, 2 F.3d 1047,

1052-1053, (10th Cir. 1993), citing to United States v. VanDiviner, 822 F.2d 960, 964-65 (10th

Cir. 1987); Seymour v. Hull & Moreland Eng'g, 605 F.2d 1105, 1111 (9th Cir. 1979)

(Furthermore, the individual who is sought to be charged personally with corporate liability must

have shared in the moral culpability or injustice that is found to satisfy the second prong of the
test; and such party must have been an actor in the course of conduct constituting the abuse of

corporate privilege.) Broadly speaking, New York courts will disregard the corporate form, or,

to use accepted terminology, “pierce the corporate veil”, whenever necessary “to prevent fraud

or to achieve equity”. Morris v. State Dep't of Taxation & Fin., 82 N.Y.2d 135, 140 (1993),

citing to (International Aircraft Trading Co. v. Manufacturers Trust Co., 297 N.Y. 285, 292, 79

N.E.2d 249 (1948).)" (Id. at 417.) Under New York law, however, the critical issue in resolving

an alter ego claim is not motive, but control, and whether the defendant used this control to
commit a fraud or other wrong resulting in an unjust loss or injury to the plaintiff. United States



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v. Evseroff, 270 Fed. Appx. 75, 77-78 (2nd Cir. 2008), citing to e.g., In re Vebeliunas, 332 F.3d

85, 91-92 (2d Cir. 2003)

       50.       It is not disputed that Defendant NIKNIM’s sole responsibility in the questioned

transactions was to in receive the Transfers as a “personal accommodation for Walia”. (JSOF 12)

Walia as the sole officer, employee and shareholder of NIKNIM (JSOF 8) controlled NIKNIM

for his personal affairs. (JSOF 8, 9) Walia “personally directed the Transfers identified in the

Complaint be directed into the NIKNIM bank account”. (JSOF 17) The person to be charged

individually, Walia, is the sole actor with respect to the corporate liability and the conduct in

question. Walia is also the sole actor failing to follow any semblance of corporate formalities

inadequately capitalized NIKNIM and created a hollow shell.

       51.       The fraud and inequities visited on unsecured creditors of the estate is clear.

Walia, an Officer of the Debtor, preferred his personal interest over that of legitimate creditors of

the estate. Former employees Jack McBride and Alan Nottingham, who sued the Debtors in

2014 and litigated the lawsuit to judgment in 2015, got nothing while the two executives diverted

millions to themselves. (JSOF 73) “[E]very conveyance made without fair consideration when

the person making it is a defendant in an action for money damages or a judgment in such an

action has been docketed against him, is fraudulent ….” §273-a. Defendants knew of the

existence of these creditors yet diverted $4,020,000 out of the Debtors’ estate for no tangible

value leaving the Debtors in bankruptcy. The Motion satisfies both tests enumerated under state
and federal law. Judgment against Defendant Walia is not only proper, but serves the very

purpose for which the doctrine to pierce the corporate veil was created.




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                                               VII.

                                        CONCLUSION

        For the reasons submitted in the Motion and herein, the Motion is ripe for determination

based on these undisputed facts.

 Dated: March 10, 2023                       Respectfully submitted,

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